                      IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
IN RE SQUIRRELS RESEARCH LABS LLC, ET                    CASE NO. 21-61491-TNAP
AL.                                                      (JOINTLY ADMINISTERED)
                 Debtors                                 CHAPTER 11
                                                         SUBCHAPTER V
                                                         JUDGE PATTON

FREDERIC P. SCHWIEG, TRUSTEE                             ADVERSARY NO. 23-06030
                Plaintiff
                   V.
                                                         ALL DOCUMENTS REGARDING THIS
ANDREW GOULD                                             MATTER MUST BE IDENTIFIED BY BOTH
               Defendant                                 ADVERSARY AND BANKRUPTCY CASE
                                                         NUMBERS AND NAME OF JUDGE


 AMENDED NOTICE OF HEARING FOR THIRD MOTION OF PLAINTIFF TO EXTEND TIME TO
                 OBTAIN SERVICE OF PROCESS ON DEFENDANT
    PLEASE TAKE NOTICE that on June 26, 2024 Frederic P. Schwieg filed the Third Motion of Plaintiff
to Extend Time to Obtain Service of Process on Defendant (the “Motion”).
    Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one. If you do not have an attorney, you may wish to consult one.
  If you do not want the Court to grant the Motion, or if you want the Court to consider your views on the
Motion at a hearing, then on or before July 9, 2024, you or your attorney must:
   File with the Court an objection/response at:
                                       United States Bankruptcy Court
                               Ralph Regula Federal Building & U.S. Courthouse
                                         401 McKinley Avenue SW
                                             Canton, Ohio 44702
   If you mail your objection/response to the Court, you must mail it early enough so the Court will receive it
on or before the date stated above.
   Mail a copy of your response to:
                                               Frederic P. Schwieg
                                             19885 Detroit Rd #239
                                           Rocky River OH 44116-1815
    Please take further notice that a hearing on the Motion will be held on July 16, 2024 at 11:00 a.m. prevailing
Eastern Time (the “Hearing”), or as soon as thereafter as this matter may be heard, before the Honorable Tiiara
N.A. Patton. The Hearing will be conducted both (i) in person at the Ralph Regula Federal Building & U.S.
Courthouse, 401 McKinley Avenue SW, Canton, Ohio 44702, and (ii) via the Zoom® Video Communications
application (“Zoom”). Unless otherwise ordered by the Court, any party who will not be presenting evidence or
argument may request to appear virtually via Zoom. Parties must pre-register by emailing Evelyn Ross, Judge
Patton’s Courtroom Deputy, at PattonZoom_Registration@ohnb.uscourts.gov by no later than 4:00 p.m. three
(3) business days prior to the scheduled hearing. The hearing registration email must include the following
information: (a) case name and case number; (b) hearing date and time(s); (c) participant’s name, address, and
telephone number; and (d) name of party/parties whom participant represents.




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    All participants appearing by Zoom shall comply with Judge Patton’s Procedures for Appearing via Zoom®
Video Communications (Effective August 21, 2023), which can be found on the Court’s website. Persons
without video conferencing capabilities must immediately contact Evelyn Ross, Judge Patton’s Courtroom
Deputy, at (330) 742-0950 to make alternative arrangements. Absent emergency circumstances, such
arrangements must be made no later than three (3) business days prior to the scheduled hearing date. The
hearing may be continued from time to time until completed without further notice except as announced in open
court.
                                                    Respectfully Submitted,
                                                    /s/ Frederic P. Schwieg
                                                    Frederic P. Schwieg, Esq. (0030418)
                                                    Attorney at Law
                                                    19885 Detroit Rd #239
                                                    Rocky River, Ohio 44116
                                                    (440) 499-4506
                                                    Fax (440) 398-0490
                                                    fschwieg@schwieglaw.com
                                                    Subchapter V Trustee

                                          CERTIFICATE OF SERVICE
I hereby certify that a copy of this Notice Of Motion to Extend Time was served on June 28, 2024 upon the
following via the Court’s ECF/CM system or by U.S. mail, postage prepaid as indicated below.

Jack B. Cooper on behalf of Defendant jcooper@milliganpusateri.com



                                                         /s/ Frederic P. Schwieg
                                                         Frederic P. Schwieg




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